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From:             Veatch, Christopher (USAILN)
To:               "Michelle Sweet"
Subject:          U.S. v. Jonathanpeter Klein - Preliminary Video Discovery
Date:             Friday, May 28, 2021 11:59:00 AM


Hello Michelle,

I have prepared another tranche of preliminary discovery consisting of open source
videos relating to Mr. Klein and his brother’s conduct. They are uploaded to USAfx and
are in the .zip files named 5.28.2021 Preliminary Video Discovery (Non-
Sensitive) Part 1.zip and 5.28.2021 Preliminary Video Discovery (Non-
Sensitive) Part 2.zip.

As we continue to prepare the materials for formal discovery, please let me know if
there are any items you would like me to prioritize or which I may be able to turnover
in preliminary discovery. Should you wish to discuss this, I am available at your
convenience.

Thank you!
Chris

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